           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:09CR26-4

UNITED STATES OF AMERICA,                            )
                                                     )
Vs.                                                  )               ORDER
                                                     )
TRACY BERNARD GIBSON.                                )
__________________________________                   )

        THIS MATTER is before the court upon defendant’s Motion to Withdraw

Guilty Plea Due to Ineffective Assistance of Counsel. Having considered defendant’s

Motion to Withdraw Guilty Plea Due to Ineffective Assistance of Counsel and

reviewed the pleadings the undersigned has determined that a hearing should be held

in regard to the allegations set forth in the motion and the court enters the following

Order.

                                      ORDER

        IT IS, THEREFORE, ORDERED that defendant’s Motion to Withdraw

Guilty Plea Due to Ineffective Assistance of Counsel (#307) is CALENDARED for

hearing Friday, March 26, 2010, at 9:30 a.m.
                                          Signed: March 25, 2010




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